Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 1 of 20 - Page ID#: 6




                           EXHIBIT A
           Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 2 of 20 - Page ID#: 7




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 29240789
Notice of Service of Process                                                                            Date Processed: 06/05/2024

Primary Contact:           Lisa Harris
                           Truist
                           1001 Semmes Ave
                           Richmond, VA 23224-2245

Entity:                                       Truist Bank
                                              Entity ID Number 4145691
Entity Served:                                Truist Bank
Title of Action:                              Timothy P. Mitchell vs. Truist Bank Inc.
Matter Name/ID:                               Timothy P. Mitchell vs. Truist Bank Inc. (15803906)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Floyd County Circuit Court, KY
Case/Reference No:                            24-CI-00322
Jurisdiction Served:                          Kentucky
Date Served on CSC:                           06/05/2024
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Hon. Larry D. Brown
                                              606-886-8132

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
             Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 3 of 20 - Page ID#: 8
    AOC-E-105      Sum Code: CI
    Rev. 9-14                                                       Case #: 24-CI-00322
                                                 ~..
                                                                    Court: CIRCUIT
    Commonwealth of Kentucky                                             1
                                                            ~ GRT OP JU5~
    Court of Justice   Courts.ky.gov                                                      County: FLOYD
    CR 4.02; Cr OfFicial Form 1                     CIVIL SUMMONS

Plantiff, MITCHELL, TIMOTHY VS. TRUIST BANK, Defendant



      TO: CORPORATION SERVICE COMPANY
              421 WEST MAIN STREET
              FRANKFORT, KY 40601
Memo: Related party is TRUIST BANK

The Commonwealth of Kentucky to Defendant:
TRUIST BANK

      You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) dayS following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.




                                                           /s/ Douglas R. Hall, Floyd
                                                           Circuit Clerk
                                                           Date: 5/29/2024




                                                    Proof of Service
      This Summons was:

❑     Served by delivering a true copy and the Complaint (or other initiating document)

        To:

❑     Not Served because:


      Date:                            , 20
                                                                                              Served By


                                                                                                Title

Summons ID: 804420453927930@90005641313
CIRCUIT: 24-CI-00322 Certified Mail



                                                                                                               I
MITCHELL, TIMOTHY VS. TRUIST BANK                                                                          .


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                                   ll llllI 1111        Page 1 of1                              e          i e ( ~
Filed                24-C1-00322 05/29/2024       Douglas R. Hall, Floyd Circuit Clerk
          Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 4 of 20 - Page ID#: 9



                                    COMMONWEALTH OF KENTUCKY
                                       FLOYD CIRCUIT COURT
                                           CA NO 24-CI
                                          (Electronacallyfiled)
         TIMOTHY P. MITCHELL                                                          PLAINTIFF


         VS.                                     COMPLAINT



        TRUIST BANK INC.
                                                                                                                ~
        214 NORTH TRYON STREET
        CHARLOTTE, NC 28202

        Serve:
        CORPORATION SERVICE COIVIPANY
        421 WEST MAIN STREET
        FRANKFORT, KY 40601                                                           DEFENDANT
               Comes the Plaintiff, Timothy P. Mitchell, by and through counsel, and for his Complaint

        against the Defendant herein, states as follows:

               1.      That at all relevant times, the Plaintiff has been a resident of 14 Meadow Brook

        Court, Prestonsburg, Floyd County, Kentucky, 41653.

               2.      That the Defendant, Truist Bank, Inc., formerly known as Branch Banking and
        Trust and/or BB&T is a financial institution with its principal place of business located at 214

        North Tryon Street, Charlotte, NC 28202 and maintains as its agent for the service of process in

        the Commonwealth of Kentucky, Corporation Service Company, 421 West Main Street, Frankfort,

        KY 40601.

               3.     That on November 23, 2015, the Defendant's predecessor, BB&T, filed a civil

        action in the Floyd Circuit Court styled "Branch Banking and Trust Successor by Merger to BB&T

        Financial FSB F/K/A BB&T Bankcard Corporation vs. Masonry Builders of Ky, Inc. and Timothy



                                                           1
Filed                  24-C1-00322 05/29/2024                  Douglas R. Hall, Floyd Circuit Clerk
                                                                                                           ~r
Filed                   24-CI-00322 05/29/2024                 Douglas R. Hall, Floyd Circuit Clerk
          Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 5 of 20 - Page ID#: 10



         P. Mitchell," designated CA No. 15-CI-00828, seeking to recover from
                                                                                   the Defendants the sum of
         Twelve Thousand Eight Hundred Thirty-three Dollars and Twenty-seven
                                                                                       Cents ($12,833.27). A
         true and accurate copy of the foregoing Complaint is attached hereto, and made
                                                                                             a part hereof, the
         same as if set out at length herein, designated Plaintiffs Exhibit #1.

                4.      That on June 30, 2016, the Defendant secured a Judgment against the Plaintiff

         herein, Timothy P. Mitchell, in the amount of Sixteen Thousand Three Hundre
                                                                                         d Forty-three Dollars
        and Eighty-nine Cents ($16,343.89), plus interest at the rate of 12% per annuin ffom
                                                                                               June 30, 2016,
        plus all court costs, and subsequently filed a Judgment Lien against him with the
                                                                                                Floyd County
        Clerk's Office on July 27, 2016 which appears of record in Lis Pendens Book
                                                                                             85, at page 552,
        asserting a lien against any and all real property the Plaintiff either owned or
                                                                                           had an interest in
        located in Floyd County, Kentucky. A true and accurate copy of the foregoing
                                                                                            Judgment Lien is
        attached hereto, and made a part hereof, the same as if set out at length
                                                                                          herein, designated
        Plaintiff's Exhibit #2.

                5.      That on February 27, 2018, the Defendant secured a Judgment against the

        Plaintiff's company, Masonry Builders of Ky., Inc. in the amount of Fourte
                                                                                           en Thousand One
        Hundred Forty-five Dollars and Seventy-five Cents ($14,145.75), plus interest at the rate of 12%

        per annum from February 27, 2018, plus all court,costs, and again filed another Judgm
                                                                                                       ent Lien
        against the said corporation with the Floyd County Clerk's office on March 19, 2018 which
                                                                                                        appears
        of record in Lis Pendens Book 91 at page 8, asserting a lien against any and all real proper
                                                                                                       ty owned
        by Masonry Builders of Ky. Inc. in Floyd County, Kentucky. A true and accura
                                                                                              te copy of the
        foregoing Judgment Lien is attached hereto, and made a part hereof, the same as if set out
                                                                                                       at length
        herein, designated Plaintiff's Exhibit #3




                                                         2
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           Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 6 of 20 - Page ID#: 11



                  6.      That through negotiations with the Defendant, by and through their counsel, an

          Agreed Order was entered by the parties on November 14, 2016 whereby the Defendant,
                                                                                                        Timothy
          P. Mitchell, agreed to pay the sum of $500.00 per month on the Judgment amount, until
                                                                                                         paid. A
          true and accurate copy of the foregoing Agreed Order is attached hereto, and made a part
                                                                                                         hereof,
          the same as if set out at length herein, designated Plaintiff's Exliibit # 4.

                  7.      That subsequent to the entry of the foregoing Agreed Order, counsel for the

         Defendant, Truist Bank f/k/a BB&T advised the Plaintiff herein in an email dated June 25,
                                                                                                           2019,
         that Truist Bank .f/k/a .BB&T would settle the foregoing Judgments it had procured against
                                                                                                             the
         Plaintiff and Masonry Builders of Ky., Inc and that they would release the Judgment Liens
                                                                                                            they
         had filed as described above upon the receipt of the sum of Five Thousand Dollars ($5,000
                                                                                                            .00)
         which amount was paid to the Defendant by the Plaintiff on July 1, 2019.

                 8.      That on February 7, 2022 the Defendant recorded an instrument in the Floyd
         County Clerk's Office entitled "Deed of Release of Judgment Lien" releasing the Judgme
                                                                                                         nt Lien
         that appears of record in Lis Pendens Book 91, at page 8 filed against Masonry Builder
                                                                                                        s of KY,
         Inc. which release appears of record in Lis Pendens Book 102, at page 224, Floyd County
                                                                                                         Clerk's
         Office. A copy of the foregoing Release is attached hereto, and made a part hereof, the same as if

         set out at length herein, designated Plaintiff's: Exhibit #5.

                 9.      That since the Defendant received the sum of Five Thousand Dollars ($5,000.00)

         paid to it on July 1, 2019 in full and fmal settlement of CA No. 15-CI-828 it had filed against

         Masonry Builders of KY, Inc. and Timothy Mitchell, the Defendant has failed and/or refused
                                                                                                             to
         release the Judgment Lien it filed against the Plaintiff, Timothy P. Mitchell, individually,
                                                                                                        without
         good cause, which continues to constitute a lien on any and all real property he either owns or
                                                                                                            has




                                                           K3

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          Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 7 of 20 - Page ID#: 12



         an interest in Floyd County, Kentucky, thereby casting a cloud of
                                                                             title on any and all real property
         he owns or has an interest in in said County.

                 10.     That on November 21, 2023, pursuant to KRS 382.365, the Plaintiff, Timot
                                                                                                             hy P.
         Mitchell, mailed a certified letter to Truist Bank, 214 N. Tryon Street,
                                                                                    Charlotte, N.C. ATTN: Mike
         Maguire, Chief Financial Officer, to demand that the foregoing Judgment
                                                                                        Lien the Defendant had
         filed against him recorded in Lis Pendens Book 85, at page 552, Floyd
                                                                                      County Clerk's Office, be
         released as per the prior agreement between the parties. A true and accura
                                                                                       te copy of the foregoing
         Certified Letter mailed to the Defendant is attached hereto, and made a part
                                                                                      hereof    , the same as if
         set out at length herein, designated Plaintiff's Exhibit #6.

                11.     That the foregoing letter was received by the Defendant on November 24,
                                                                                                            2023,
        but to date, the Defendant has not yet released the Judgment Lien it has
                                                                                          filed and wrongfully
        continues to maintain against the Plai:ntiffwhich appears of record in Lis Pende
                                                                                           ns Book 85, at page
        552, Floyd County Clerk's Office.

                12.     That the Plaintiff has complied with the provisions of KRS. 382.365 and is entitle
                                                                                                               d
        to an Order being entered by the Floyd Circuit Court ordering and directi
                                                                                         ng the Floyd County
        Master Commissioner to immediately issue a release of the foregoing Judgment Lien
                                                                                                  on behalf of
        the Defendant which continues to wrongfully maintain the same against the Plainti
                                                                                               ff herein.
                13.    That by virtue of the fact that the Plaintiff has satisfied the debt it owed to
                                                                                                             the
        Defendant in full per the negotiated settlement with the Defendant as stated above,
                                                                                                the Defendant
        is without good cause for not having released its Judgment lien against the
                                                                                            Plaintiff, and the
        Plaintiff is entitled to recover against the Defendant, the sum of $100 per day
                                                                                            for each day after
        the fifteenth day from November 24, 2023 through to and including the presen
                                                                                            t date, pursuant to
        KRS 382.365 (4).



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          Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 8 of 20 - Page ID#: 13



                 14.     That by virtue of the fact that the Plaintiff has satisfied the debt it
                                                                                                     owed to the
         Defendant in full per the negotiated settlement with the Defendant as stated
                                                                                            above, and by virtue
         of the fact that the Defendant has continuously failed to release its Judgm
                                                                                            ent Lien against the
         Plaintiff, Timothy Mitchell, which appears of record in Lis Pendens Book
                                                                                        85, at page 552, without
         good cause within forty-five (45) days from the date of the written notice
                                                                                      it received on November
         24, 2023, the Plaintiff is entitled to recover against the Defendant
                                                                                the additional sum of $400.00
         per day for a total of $500.00 per day after the forty-fifth (45th) day
                                                                                 from Novem        ber 24, 2023
         through to and including the date that the foregoing Judgment Lien is
                                                                                   released, pursuant to KRS
         382.365 (5).

                15.     That as a direct and proximate result of the Defendant's willful,
                                                                                                   wanton, and
         intentional disregard for the rights of the Plaintiff by continuing to mainta
                                                                                        in a lien on any and all
        real property owned by the Plaintiff herein in Floyd County, Kentucky,
                                                                                      their lien constitutes an
        unauthorize cloud on the title to all real property the Plaintiff either owns
                                                                                         or has an interest in in
        Floyd County, Kentucky, and has caused the Plaintiff to suffer great
                                                                                   and enormous mental and
        emotional stress, pain, and suffering, all to his detriment in an
                                                                          amount in excess of the
        jurisdictional limits of the Floyd Circuit Court, if available_

                16.     That as a direct and proximate result of the Defendant's willful, wanton,
                                                                                                            and
        intentional disregard for the rights of the Plaintiff by continuing to mainta
                                                                                      in a lien on any and all
        real property owned by the Plaintiff herein in Floyd County, Kentucky, their
                                                                                           lien has caused the
        Plaintiff great and enormous mental and emotional stress, pain, and
                                                                                   suffering, for which the
        Plaintiff should be awarded punitive damages in an amount determined
                                                                                         by a jury that would
        adequately compensate the Plaintiff herein, if available.




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                 17.     That the failure and refusal of the Defendant to release the
                                                                                           Judgment Lien it yet
         maintains against the Plaintiff as hereinabove stated
                                                                    constitutes an intentional infliction of
         emotional distress upon the Plaintiff in that their actions were
                                                                          intent  ional or reckless; its conduct
         was outrageous and intolerable and therefore offends the gener
                                                                                ally accepted standards in the
         industry of decency and morality which has caused the
                                                                     Plaintiff to endure great and enormous
         mental and emotional pain and suffering that is severe.

                 18.    That pursuant to KRS 382.365 (5) the Defendant is also liable
                                                                                               to the Plaintiff for
         any and all costs associated with the maintenance of this action,
                                                                             plus reasonable attorney's fees for
         securing any award of relief and/or damages against. the Defendant
                                                                                herein.
                WHEREFORE, the Plaintiff demand Judgment against the Defen
                                                                                      dant herein as follows:
                1.      That the Court enter an Order directing the Master Commission
                                                                                               er of this Court to
        immediately release the Judgment Lien filed by the Defendant herein
                                                                                 against the Plaintiff, Timothy
        P. Mitchell.

                2.      That the Court enter an Order finding that the Defendant, Truist
                                                                                               Bank f/k/a BB &
        T was without good cause for failing to release the Judgment Lien
                                                                               it had filed against the Plaintiff
        as hereinabove stated, and award the Plaintiff all sums due
                                                                      him pursuant to K.RS_ 382_365 being
        One Hundred Dollars ($100.00) per day beginning fifteen (15) days
                                                                                after November 24, 2023, and
        an additional Four Hundred Dollars ($400.00) per day for a
                                                                              total of Five Hundred Dollars
        ($500.00) per day beginning forty-five (45) days after November 24,
                                                                                   2023 until such time as the
        Defendant releases its Judgment Lien against the Plaintiff, Timothy
                                                                                P. Mitchell.
               3.      That the Plaintiff be awarded damages against the Defendant to comp
                                                                                                     ensate him
        for the cloud of title its unreleased Judgment Lien continues to create on
                                                                                     his real property in Floyd




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        Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 10 of 20 - Page ID#: 15



         County, Kentucky in an amount in excess of the jurisdictional minimum of
                                                                                      the Floyd Circuit Court,
        if available.

                4.       That the Plaintiff be awarded damages for the mental and emotional pain
                                                                                                             and
        suffering, anguish, and stress he has had to endure as the result of the Defend
                                                                                             ant's intentionally
        inflection thereof by failing and refusing to release its Judgment Lien against
                                                                                             the Plaintiff, in an
        amount in excess of the jurisdictional minimum of the Floyd Circuit Court.

                5.      That the Plaintiff be awarded punitive damages against the Defendant for their

        willful, wanton, and intentional disregard they have for the rights of the Plainti
                                                                                          ff in their deliberate
        failure to release the Judgment Lien it has filed against the Plaintiff, withou
                                                                                       tjust cause.
               6.       Trial by jury.

               7.       That the Plaintiff be allowed to recover their costs expended in the maintenance
                                                                                                              of
        this action, including reasonable attorney's fees, and recover any and
                                                                                       all other proper and
        appropriate relief to which he may appear entitled.


                                                       /s/ LarrX D. Brown
                                                      HON. LARRY D. BROWN
                                                      P. O. BOX 550
                                                      143 NORTH ARNOLD AVENUE
                                                      PRESTONSBURG, KY 41653
                                                      TELE: (606) 886-8132
                                                      FAX: (606) 886-8134
                                                      EMAIL: Ldbpsc@llsouth.net




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                                                                                               FLOYD CIRCUIT COURT
                                                                                                          DIVISION
         BRANCH BANKING & TRUST COMPAN
                                       Y
         SUCCESSOR BY MERGER TO BB&T                                                                            PLAINTIFF
         FINANCIAL FSB F/K/A BB&T
         BANKCARD CORPORATION

         vs.
                                                         COIYII'LAINT
         MASONRY BUILDER'S OF KY., INC
                                       .
         TIMOTHY P MITCHELL
                                                                                                           DEFENDANTS
                                                           **x***
         The Plaintiff, by counsel, for its cause of
                                                     action against the Defendant states as follows:
         1. The Defendant is indebted to the Plain
                                                      tiff in the amount of $12,833.27.
        2. Venue is proper witli this court base on
                                                   d the Defendant residing in FLOYD County.
        WHEREFORE, Plaintiff respeetfully requests
                                                           tlie following relief:
        1. Judgment against the Defendant in the
                                                      sum of $12,833.27;
        2. Interest thereon at the rate of 12% per
                                                          annuni from the date of Judgnent, until the
            satisfied;                                                                                      Judginent is
        3. For Plaintiffs costs lierein expended
                                                     including a reasonable attorney's fee as set fortl
            bettiveen the parties;                                                                      i in the contract
        4. For any and all otlier rclief to whicti
                                                       thc plaintiff may be entitle      suant o contract, statute; or
            common law.


                                                           PATRICK J. KIL
                                                           LLOYD & McDANIEL, PLC
                                                           Attomeys for Plaintiff
                                                           P.O. Box 23200
                                                           Louisville, KY 40223-0200
                                                           (502) 585-1880
           This letter is an attcmpt to collect a debt
    purpose. This communieation is from a debt , and any information obtained tvill be used for that
                                                    collector.
    C3 85895/PSMARTCM/EZ2



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          Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 12 of 20 - Page ID#: 17
                                                                                                                               '
                             No. 15-CI-00828           FEE
                                                                                                                        FLOYD CIRCUIT COURT
                                                                   ofl y Coun                                                    DIVISION 2
                             BRANCH"BANKI                                                                                                       PLAINTIFF
                             SUCCESSOR BY 2* EO           &T
                             FINANCIAL FSB F/K/A BB&T BANKCARD
                             CORPORATIONCare, Of Lloyd & McDaniel
                             P.O. Box 23200
                             Louisville, KY 40223-0200
                                                       NOTICE OF JUDGMENT I.IEN
                             vs.
                             TIMOTHY P IVIITCHELL                                                                                         DEFENDANT
                                      Take notice that the above neferenced Plaintiff obtained a Judgment against the above referenced
                            Defendant in the above Court, for the sum of $16,343.89 with interest acctuing at the rate of 12% per annum
                            from June 30, 2016, plus all costs expended, and as security for.said Judgment levies on all ofthe right, title
                            and interest of the Defendant, Tll►1OTHY P MITCHELL, in and to any real property located in Floyd
                            County, Kentucky.
                                                                                  NOTICE
                                      NOTICE TO JUDGMSNT DEBTOR You may be entitled to an exemption under KRS 427.060,
                             reprinted below. If you believo you are entitled toassert an exemption, seok legal advicx.
                                      KRS 427.060: "In addition to any ezemption of personel property, an individual debtoPs aggregate
                            interesr, not to exceed $5,000.00 in value, in real or personal property that such debtor or a dependent of such
                            debtor uses as a pennanent residence,in this state, or in a burial plot for such debtor or a dependent of such
                            debtor is exempt from sale under execution, attachment or judgment, except to foreclose a mortgage given by
                            theowner of a homestead or for purchase money due thereon. Tbis exemption shall not nply if the debt or
                            liability existed prior to the purchase of the property or the erection of the imp vernents ereon."
                                                                      CERTIFICATE QF SjcRVICE
                                      This is to certify that a copy of.the foregoing was mailed on                           to TIMOTHY
                            P MITCHELL, at the last known address, in compliance with KRS 426.72 1)(c).
                          ATTO1W.                           INTIFI                     PREtV.)

                          PATRICK J.                                                   PATRICK J. KJN
                          LLOYD & McD1EILC                                             LLOYD & M A           , PLC
                          P.O. Box 23200                                               P.O. Box 232
                          Louisville, KY 40223-0200                                    Louisville, KY 40223-0200
                          (502) 585-1880                                              (502) 585-1880
                           THTS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL
                           BE USED FOR THAT PURPOSE. THIS COMMUNICATION IS FROM A DEBT COLLECTOR-
                           C385895/P603X2/SH

                                                                              STATE OF KE, TVCKY. COUNiY OF FLOYD, S.S.
                                                                              I. CHRIS           H, CierkoxFtoyd Coxxty CerSy that thefuregciag


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                                                                              EXHIBIT
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Filed                             24-CI-00322 05/29/202                                     Dougla              . Hall, Floyd Circuit Clerk
,Filed .              24-C!-00322 05/29/2024                        Floyd    Douglas                               Circuit
        Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24R. Fial9,
                                                             Page:     13 of 20 - Clerk
                                                                                  Page ID#: 18




                 No. 15-CI-00828                                                                   FLOYD CIRCUIT COURT
                                                                                                            DNISION 2
                BRANCH BANKING & TRUST COMPANY                                                                           PLAINTIFF
                SUCCESSOR BY MERGER TO BB&T
                FINANCIAL FSB F/K/A BB&T BANKCARD
                CORPORATIONCare Of Lloyd & McDaniel
                P.O. Box 23200
                Louisvifle, KY 40223-0200

                vs.

                MASONRY BUILDER'S OF KY., INC.                                                                       DEFENDANT
                                                                 ********                                                        .
                           Take notice that the above referenced Plaintiff obtained a Judgment against the above referenced
                Defendant in the above Court, for the sum of $14,145.75 with interest accruing at the rate of 12°lo per annum
                from February 27, 2018, plus aII costs expended, and as security for said Judgment levies on all of the right,
                title and interest of the Defendant, MASONRY BUILDER'S OF KY., INC., in and to any real property
                 located in Floyd County, Kentucky.
                                                                       NOTICE
                           NOTICE TO JUDGMENT DEBTOR You may be entided to an exemption under KRS 427.060,
                 reprinted below. If you believe you are entitled to assert an exemption, seek legal advice.
                           KRS 427.060: "In addition to any exemption of personal property, an ind'rvidual debtor's aggregate
                 interest, not to exceed $5,000.00 in value, in real or personal property that such debtor or a dependent of suoh
                debtor uses as a permanent residence in this state; or itfa'burial plot for such debtor or a dependent or"such'
                debtor is exempt from sale under execution, attachment or judgment; except to foreclose a mortgage given by
                the owner of a homestead or for purchase money due thereon. This exemption shall not app y ifthe debt or
                liability existed prior to the purchase of the property or the erection oftlie improvements reon."
                                                           CERTIIiZCATE OF SERVICE
                          This is to certiffy that a copy of the foregoing was mailed on                           to MASONRY
                BUILDER'S OF KY., INC., at the last known address, in compliance with KRS 426.720(1)(c).

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                ►~~~~*~~~~~                                           .. , . . ~, : . ,
                                                                                     r
                PATRICK J.                                            PATRICK .
                LLOYD & McD            P                              LLOYD & Mc              LC
                P.O. Box 23200 qLl                                    P.O. Box 23200
                Louisville, KY 40223-0200                             Louisville, KY 40223-0200
               (502)585-1880                                         (502)585-1880

                THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL
                BE USED FOR THAT PURPOSE. THIS COlYIMUNICATION IS FROM A DEBT COLI,ECTOR.
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                NO. 1 ti-C)-00828
                                                                                                              FI..QYD CIRCUIT COURT
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                                               'RUS f
               C'CM1'A:Ii`SUCCESSOR BY                                                                                      Pt,AINTIFF
                                               MERGER 'I3
               BB&T FlN+,:.NCIAL, ;'.`3B FlI(
                                              JA BI3&T  ...
               BANKCARD CORPORATI`O
                                              N
               vs.
                                                                  AGREED ORDER
               TIMOTf-lY P M1'I'C1-IELL, ei
                                                   crl.
                                                                                                DEFENDANTS
                   The Plnintiff. BRACI-I i3A
             T1MOTI-IY P. M1TCNELL, by        NK tNG  & TRUS-1' COM.PANY, by cou
                                        caunsel, agree as follcws:               nsel, and the Defendant,

                               Plainti ff`is rhe holder of a
             amount or S )2,83::,2? pltLs                         Judgrnent enter'ed by d1e Cou
                                               vl atforne} s fee equal to 525                         rt on June 24, 2016 in [lie
             of'S302.30. and costs for the                                           % ofthe judgment balance,
                                                fi1ing of any cxecutions.. inc                                         plus coun costs
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            Sr,=.isfled. The .{udgt-nel7                                       date of JIIdgTtlent tlnt[1 this
                                          t balance tis ofSelnetltber 30,                                      Jtld grri ent  is
                      2.      lt is ftirther aoreed that                          201 G is Sl G,959.09.
            pa}unenl aue nn or before                         if Defe.ndarit pays s500.00
                                             1\ovemUer 1, 2016, and 550                         to Plaintiff, .t~ith the first
            the,'eaf[er until the tot~i sum refe                                   0.00 bv the 1" of each subseq
                                                     rGnced in Paragr•aph I abo                                          uent monih
            execur:on on this Jttdgnz                                                   ve is paid, Plaintiit shall not
                                          ent. Dereiidailt tnay prepav                                                         issue
               tnout penaliy.                                                    all or any potrtion of this arnoun
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                     3.      It is further agreed that if
           fotrth i:l paragraph 2. P'lainti                     tne Defendant defaults fi'oni
                                              lT sltali be ft'ee to issue exe                        tEie paynient schedule se.t
                                                                                  cutiUn on this Judgment fort'slw
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        NO. 15-CI-00828
                                                                                              FLOYD CIRCUIT COURT
                                                                                                        DIVISION 2
        BRANCH BANKING & TRUST COMPANY
        SUCCESSOR BY MERGER TO BB&T FINANCIAL                                                                 PLAINTIFF
        FSB F/K/A BB&T BANKCARD CORPORATION

        vs.                              DEED OF RELEASE OF JUDGMENT LIEN
        Timothy P Mitchell
        PO Box 1778.                                                                                         DEFENDANT
        Prestonsburg KY 41653-5778

                Comes the above named Plaintiff and hereby releases and forever discharges unto the above named Judgme
                                                                                                                      nt
        Defendant, the Notice of Judgment Lien filed March 19, 2018 in Book 913g~8.



                                                       PATRICK J.
                                                       LLOYD & M~~D            PLC, Attorneysfor Plaintjff
        C385895/PKYLR/Simone




                                                            EXii1B1T
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          Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 16 of 20 - Page ID#: 21




        COMMONWEALTH OF KENTUCKY                   )
                                                   ) SS
        COUNTY OF JEFFERSON                        )
                 The foregoing document was subscribed, acknowledged and sworn to before me by the undersigned,
                                                                                                                  on

                                                                                                                           ~
                 My Commission Expires:        ~          ~j~
                                                                              ~
                                                                    NOTAR PUBLIC

                                                                     CGicur         K~-eyv e~r~
                                                                    PRINT NAME
        Instrument -



        PATRICK J. K B
        LLOYD & Mc ANIEL, LC, Attorneysfor Plainttff
        P.O. Box 2320 l Louisvi le, KY 40223-0200
        To11 Free: 866. 85.188 Fax: 502.585.3054 courts@lloydmc.com

        C385895/PKYLR/Simone




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         Case: 7:24-cv-00041-KKC Doc #: 1-1 Filed: 06/25/24 Page: 17 of 20 - Page ID#: 22




                                      Masonry BuoCders of K'o 6ncO
                                                Phone: 606 793 3107

                                     Email: I~nasonrybuilders@yahoo.com


         Truist Bank                                          VIA CERTIFIFIfD MAIL:
         214. N. Tryon St.                             ~S~1-~~ j O                         6 ZZ~

         Charlotte, North Carolina 28202



         ATTN: Mike Maguire, Chief Financial Officer or Officer

         RE: Branch Banking & Trust Company Successor by Merger to BB&T Financial FSB F/K/A BB&T Bank Card
            Corporation: Care of Lloyd & McDaniel, PO Box 23200 Louisville, Ky. 40223-0200

            Judgement Lien (Judgement Debtor: Masonry builders of Ky Inc) Recorded March 19 2018 In Floyd
         County Kentucky Clerk's Office. Book 91 Page 8, and Judgement Lien (Judgement DebtorTimothy
         Mitchell) Recorded in Floyd County clerk's Office dated July 27 2016, Book 85 page 552


         Mr.. Maguire or Officer


          Masonry Builders of Ky. Inc. & Timothy Mitchell paid off the above referenced Judgement Lien assigned
         •to your company by check dated June 23, 2019 in the agreed amount of $5,000.00. Check number
          13011. To date the above referenced lien assignment has never been released. Your company received
         the agreed pay=off amount on July 1, 2019. It has been excess of 4 years since payment was received by
         your company that satisfied the judgment lien.



               Pursuant to KRS. 383.365, this letter is notice to you of your failure to release the above
          referenced Judgement Lien'in a timely manner, without good cause. I, Timothy Mitchell, President of
          Masonry Builders of Ky. Inc. is demanding the same be released immediately from my personal and
          business properties

          Sincerely:

          Timothy Mitchell

          President:

                             PO BOX 1778,112 MITCHELL STREET PRESTONSBURG KY 41653

                                                        EXHIBIT
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